                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 UNITED STATES OF AMERICA,                         )   CASE NO. 1:15CV1036
                                                   )
                            Plaintiff,             )   JUDGE CHRISTOPHER A. BOYKO
           v.                                      )
                                                   )   PLAINTIFF UNITED STATES OF
 $16,765.00 IN U.S. CURRENCY, ET AL.,              )   AMERICA’S REQUEST TO ALLOW THE
                                                   )   STAY OF PROCEEDINGS TO EXPIRE
                          Defendants.              )   AND TO SET A CASE MANAGEMENT
                                                   )   CONFERENCE_____________________


       Now comes the Plaintiff, the United States of America, by and through its counsel, Justin

E. Herdman, United States Attorney for the Northern District of Ohio, and Phillip J. Tripi,

Assistant United States Attorney, and provides this Honorable Court with notice that it does not

intend to seek an extension of the current stay of proceedings past August 7, 2018. Specifically,

although the criminal investigation remains active, the United States is prepared to sit down at a

discovery planning meeting with claimants’ counsel to explore what aspects of the civil

discovery can proceed pending completion of the criminal investigation. As such, the United

States requests that this Honorable Court issue a case management conference order which

provides sufficient time for the United States to coordinate a planning meeting at which aspects

of the civil litigation can be shared with all parties towards reaching an agreement as to how

discovery could proceed at this point and what practical limits can be put into place by the Court




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to permit the case to move forward in a meaningful way parallel to the completion of the

criminal investigation.

                                                        Respectfully submitted,
                                                        JUSTIN E. HERDMAN
                                                        United States Attorney


                                                By:     __/s/Phillip J. Tripi___________________
                                                        Phillip J. Tripi
                                                        Assistant United States Attorney
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                                   CERTIFICATE OF SERVICE

        It is hereby certified that on this 3rd day of August, 2018, the foregoing pleading was

filed electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access the filing through the Court’s system.


                                                        ___/s/Phillip J. Tripi________
                                                        Phillip J. Tripi
                                                        Assistant United States Attorney




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